
County Line Pharmacy, as Assignee of Clara Hunter, Respondent, 
	againstGeico Insurance Company, Appellant.&nbsp;Law Office of Printz &amp; Goldstein (Lawrence J. Chanice of counsel), for appellant.
Lewin &amp; Baglio, LLP (Brendan Kearns of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered October 29, 2014. The order, insofar as appealed from, denied the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover for medical supplies provided to plaintiff's assignor on January 6, 2011 and March 15, 2011.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover for medical supplies provided to plaintiff's assignor on January 6, 2011 and March 15, 2011 are granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from so much of an order of the Civil Court as denied the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover for medical supplies provided to plaintiff's assignor on January 6, 2011 and March 15, 2011. The Civil Court found that an issue of fact exists as to the medical necessity of the supplies at issue.
For the reasons stated in County Line Pharmacy as Assignee of Earline Vaughns v GEICO Ins. Co. (___ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2015-53 Q C], decided herewith), the order, insofar as appealed from, is reversed, and the branches of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover for medical supplies provided to plaintiff's assignor on January 6, 2011 and March 15, 2011 are granted.
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: April 13, 2018









